
PER CURIAM.
Affirmed. Peek v. State, 395 So.2d 492 (Fla.1980), cert. denied, 451 U.S. 964, 101 S.Ct. 2036, 68 L.Ed.2d 342 (1981); Treverrow v. State, 194 So.2d 250 (Fla.1967); State v. Fernandez, 546 So.2d 791 (Fla. 3d DCA 1989); Garcia v. State, 521 So.2d 191 (Fla. 1st DCA 1988); State v. Griffin, 512 So.2d 1087 (Fla. 2d DCA 1987); State v. Perez, 438 So.2d 436 (Fla. 3d DCA 1983).
